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IN THE UNITED sTATEs DisTRICT COURT
FoR THE WESTERN DIsTRICT oF TENNESSEE us ?‘t.li:`t 23 PH l= 58
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UNITED STATES OF AMERICA

V.

05-201 07-D

JERIMIAH COLLINS

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on 05 ' l 55 05 , the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME (') F"El L (QCODE who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

L/The defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

UNITED STATES MAGISTRATE JUDGE

CHARGES: 18:922(g);
U. S. Attomey assigned to Case: T. DiScenza

Age: Q`l

     
 

  

UNITED sATE ISTRICT COUR - wETERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20107 was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

